                Case 2:20-cr-00165-ODW Document 15 Filed 06/10/20 Page 1 of 5 Page ID #:75
                                                                                          http://156.131.20.221/cacd/CrimIntakeCal.NSF/1222c8c990b 1f46...




                                                               UNITED STATES DISTRICT COURT
                                                              CENTRAL DISTRICT OF CALIFORNIA

         iJNITED STATES OF AMERICA,                                                ~   Western Division                         iJNDER SEAL
                                                                        Plaintiff, ~
                                           vs.                                     ~   Case Number: 2:20-CR-00165-ODW-1         Information
                                                                                   ~   Initial App. Date: 06/10/2020            Summons
         Ricardo Pacheco                                                           i   Initial App. Time: 2:00 PM




                                                                      Defendant. ~ Date Filed: 03/26/2020
                                                                                 ~ Violation: 18USC666 a 1 B
                                                                                 ~ CourtSmart/ Reporter:             y    ~1   1 ~n'L
                                                                                                                     r

                PROCEEDINGS HELD BEFORE UNITED STATES                                                     CALENDAR/PROCEEDINGSSHEET
                  MAGISTRATE JiTDGE: Jacqueline Chool.iian                                                 LOCAL/OUT-OF-DISTRICT CASE



         PRESENT:                      Hays, Kerri                                            I                                     None

                                        Deputy Clerk                            Assistant .S. Attorne~~                       Interpreter/Language
                 ~ INITIAL APPEARANCE NOT HELD -CONTINUED
                    Defendant informed of charge and right to: remain silent; appointment of counsel, ifindigent; right to bail; bail review and

                 ~
                      p   reliminary hearing OR ~ ~r oval hearing /Rule 20.
                      efendant states true name his as charged ~ is
                 ~ Court ORDERS the caption ofthe Indictment/Inforrnation be changed to reflect defendant's different true name. Coansel are directed
                    to file all future documents reflecting the true name as stated on the record.
                 D Defendant advised of consequences offalse statement in financial affidavit. D Financial Affidavit ordered SEALED.
                 [J Attorney: Glenn Jonas, Retained ~ Appointed ~ Prev. Appointed ~ Poss. Contribution (see separate order)
                     D Special appearance by:
                 D Government's request for detention is: ~ GRANTED ~ DENIED ~ WITHDRAWN ~ CONTINUED
                 O~fendant is ordered: ~ Permanently Detained ~ Temporarily Detained (see separate order).
                 @7BAIL FIXED AT $ 57~ ~~p , v c~                           (SEE ATTACHED COPY OF CR-1 BOND FORM FOR CONDITIONS)
                 O Government moves to UNSEAL ComplaintlIndictmentlInformation/Entire Case: D GRANTED ~ DENIED
                 O Preliminary Hearing waived.
                 D Class B Misdemeanor ~ Defendant is advised of maximum penalties
                 O This case is assigned to Magistrate Judge                                                  .Counsel are directed to contact the clerk for
                    the setting of all further proceedings.
                 D PO/PSA WARRANT ~ Counsel aze directed to contact the clerk for
                   District Judge                                                              for the setting offurther proceedings.
                 D Preliminary Hearing set for                                    at 4:30 PM
                 O PIA set for:                                    at 11:00 AM in LA; at 10:00 AM in Riverside; at 10:00 AM in Santa Ana
                 O Government's motion to dismiss case/defendant                                                 only: ~ GRANTED ~ DENIED
                 ~ Defendant's motion to dismiss for lack of probable cause: ~ GRANTED ~ DENIED
                 D Defendant executed Waiver of Rights. ~ Process received.
                 O Court ORDERS defendant Held to Answer to                                     District of
                    ~ Bond to transfer, if bail is posted. Defendant to report on or before
                    ~ Warrant ofremoval and final commitment to issue. Date issued:                                   By CRD:
                    O Warrant of removal and final commitment aze ordered stayed until
                 O Case continued to (Date)                                         (Time)                                   AM / PM
                   Type of Hearing:                                    Before Judge                                        /Duty Magistrate Judge.
                   Py~ceedings will be held in the ~ Duty Courtroom                                 ~ Judge's Courtroom
                 ~'befendant committed to the custody of the U.S. Marshal          Summons: Defendant ordered to report to USM for processing.
                 O Abstract of Court Proceeding (CR-53)issued. Copy forwarded to USM.
                 D Abstract of Order to Return Defendant to Court on Next Court Day(M-20)issued. Original forwarded to USM.
                 O RELEASE ORDER N0:
                 O Other:
                                     ~ PSA ~ USPO                              ~ FINANCIAL                           ~ READY
                                                                                                                           Deputy Clerk Inidals~`
                                                                                                                                               a
            M-5 (10/13)                            CALENDAR/PROCEEDING SHEET - LOCALJOUT-OF-DISTRICT CASE                                      Page 1 of 1




1 of 1                                                                                                                                        6/10/2020, 10:55 AM
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                UNITED STATES DISTRICT COURT FOR THE CENTRAL DISTRICT OF CALIFORNIA

  Case Name: United States of America v. Ricardo Pacheco                                           Case No. 2:20-cr-00165-ODW
                                                  Defendant        ~ Material Witness

   Violation of Title and Section: 18:666(a)(1)(B)
                                  ■ Summons
                                  ~                  ~ Out of District ~ UNDER SEAL              ~ Modified Date:

  Check only one ofthefive numbered boxes below (unless one bond is to be replaced by another):
   1.      Persona Recognizance Signature On y             (~),~ Affidavit of Surety With Justification     Release No.
                                                                (Form cR-3) Signed by:
  2. ~ Unsecured Appearance Bond                                                                              Summons
       $                                                                                                     ~ Release to Pretrial ONLY
  3. Q Appearance Bond                                                                                       ~ Release to Probation ONLY
       $ 50.000.00
                                                                                                               Forthwith Release
    (a).~ Cash Deposit (amounr or ~o~ (Form CR-7~
                                                                       With Full Deeding of Property:

    (b).0 Affidavit of Surety Without
          Justification (Form cx-4) Signed by:
                                                                                                             ~ All Conditions of Bond
           Ms. Lenet Pacheco                                                                                   (ExceptClearing-Warrants
                                                                                                                Condition) Must be Met
                                                                                                                and Posted by:



                                                                                                                 Third-Party Custody
                                                       4. ❑Collateral Bond in the Amount of(Cash                 Affidavit(Form CR-31)
                                                             or Negotiable Securities):
                                                               $                                             0 Bail Fixed by Court:
                                                       5.~ Corporate Surety Bond in the Amount of:            1C          ~ ~_
                                                            $                                                   (Judge /Clerk's Initials)


                                                     PRECONDITIONS TO RELEASE
        The government has requested a Nebbia hearing under 18 U.S.C. 4 3142(g)(4).
  ~ The Court has ordered a Nebbia hearing under 4 3142 (g)(4).
  ~ The Nebbia hearing is set for                                       at           ❑ a.m. ❑ p.m.

                                                ADDITIONAL CONDITIONS OF RELEASE
In addition to the GENERAL CONDITIONS of RELEASE,the following conditions of release are imposed upon you:
■ Submit to: ~■ Pretrial Services Agency (PSA) supervision as directed by PSA; ~ Probation (USPO) supervision as directed by USPO.
~
                 (The agency indicated above, PSA or USPO, will be referred to below as "SupervisingAgency.'~

   Surrender all passports and travel documents to Supervising Agency no later than                                         sign a Declaration
    re Passport and Other Travel Documents (Form CR-37), and do not apply for a passport or other travel document during the pendency
    of this case.
■ Travel is restricted to Central District of California
~                                                                                           unless prior permission is granted by Supervising
    Agency to travel to a specific other location. Court permission is required for international travel.
Q Reside as approved by Supervising Agency and do not relocate without prior permission from Supervising Agency.
~
■ Maintain or actively seek employment and provide proof to Supervising Agency. ~■ Employment to be approved by Supervising Agency.
   Maintain or begin an educational program and provide proof to Supervising Agency.
                                                                                 Defendant's Initials:              Date:        ~~ ~       ]~f~
                                                 DISTRICT OF CALIFORNIA          ,SE ORDER AND BOND FORM                         P   E 1 OF 4
               Case 2:20-cr-00165-ODW Document 15 Filed 06/10/20 Page 3 of 5 Page ID #:77
   Case Name: United States of America v. Ricardo Pacheco                                          Case No. 2:20-cr-00165-ODW
                                              ■ Defendant
                                              ~                   ~ Material Witness
       Avoid all contact, directly or indirectly (including by any electronic means), with any person who is a known victim or
       witness in the subject investigation or prosecution, ~ including but not limited to
                                                             ;~ except
       Avoid all contact, directly or indirectly (including by any electronic means), with any known codefendants except in the presence
       of counsel. Notwithstanding this provision, you may contact the following codefendants without your counsel present:

      Do not possess any firearms, ammunition, destructive devices, or other dangerous weapons. ~ In order to determine compliance,
       you agree to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not use or possess any identification, mail matter, access device, or any identification-related material other than in your
       own legal or true name without prior permission from Supervising Agency. ~ In order to determine compliance, you agree
       to submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not engage in telemarketing.
      Do not sell, transfer, or give away any asset valued at $                                 or more without notifying and obtaining
       permission from the Court, except
      Do not engage in tax preparation for others.
      Do not use alcohol.
      Participate in the electronic remote alcohol monitoring program as directed by Supervising Agency and abide by all the rules and
       requirements of the program. You must pay all or part of the costs for treatment based upon your ability to pay as determined by
       Supervising Agency.
      Do not use or possess illegal drugs or state-authorized marijuana.   ~ In order to determine compliance, you agree to
       submit to a search of your person and/or property by Supervising Agency in conjunction with the U.S. Marshal.
      Do not use for purposes of intoxication any controlled substance analogue as defined by federal law or street, synthetic, or
       designer psychoactive substance capable of impairing mental or physical functioning more than minimally, except as
       prescribed by a medical doctor.
      Submit to:      drug and/or ~ alcohol testing. If directed to do so> participate in outpatient treatment approved by Supervising Agency.
       You must pay all or part of the costs for testing and treatment based upon your ability to pay as determined by Supervising Agency.
      Participate in residential ~ drug and/or ~ alcohol treatment as directed by Supervising Agency. You must pay all or part of the costs
       of treatment based upon your ability to pay as determined by Supervising Agency. ~Release to PSA only ~ Release to USPO only
      Submit to a mental health evaluation. If directed to do so, participate in mental health counseling and/or treatment approved by
       Supervising Agency. You must pay all or part of the costs based upon your ability to pay as determined by Supervising Agency.
      Participate in the Location Monitoring Program and abide by all of the requirements of the program, under the direction of Supervising
       Agency, which       will or    will not include a location monitoring bracelet. You must pay all or part of the costs of the program based
       upon your ability to pay as determined by Supervising Agency. You must be financially responsible for any lost or damaged equipment.
           Location monitoring only - no residential restrictions;
                              -or-
           You are restricted to your residence every day:
                    from                  ❑ a.m. ❑ p.m. to                    ❑ a.m. ❑ p.m.
                    as directed by Supervising Agency;
                              -or-
                                                                                Defendant's Initials:                Date:       (~     ~`~,O'~
CR-1 (05/19)                             CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND FORM                                  P GE 2 OF 4
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      Case Name: United States of America v. Ricardo Pacheco                                                Case No. 2:20-cr-00165-ODW
                                                    0 Defendant        ~ Material Witness

               You are restricted to your residence at all times except for medical needs or treatment, attorney visits, court appearances, and

                                                                                         all of which must be preapproved by Supervising Agency;
               Release to PSA only      ~ Release to USPO only
             You are placed in the third-party custody(Form CR-31) of

             Clear outstanding ~ warrants or ~ DMV and traffic violations and provide proof to Supervising Agency within                 days
             of release from custody.
             Do not possess or have access to, in the home,the workplace, or any other location, any device that offers Internet access except
             as approved by Supervising Agency. ~ In order to determine compliance, you agree to submit to a search of your person
             and/or property by Supervising Agency in conjunction with the U.S. Marshal.
             Do not associate or have verbal, written, telephonic, electronic, or any other communication with any person who is less than
             the age of 18 except in the presence of a parent or legal guardian of the minor.
             Do not loiter or be found within 100 feet of any schoolyard, park, playground, arcade, or other place primarily used by children
             under the age of 18.

         Do not be employed by, affiliated with, own,control, or otherwise participate directly or indirectly in the operation of any daycare
             facility, school, or other organization dealing with the care, custody, or control of children under the age of 18.
         Do not view or possess child pornography or child erotica. ~ In order to determine compliance, you agree to submit to a search

             of your person and/or property, including computer hardware and software, by Supervising Agency in conjunction with the U.S.
             Marshal.

         Other conditions:




                                                  GENERAL CONDITIONS OF RELEASE

  I will appear in person in accordance with any and all directions and orders relating to my appearance in the above entitled matter as
  maybe given or issued by the Court or any judicial officer thereof, in that Court or before any Magistrate Judge thereof, or in any other
  United States District Court to which I may be removed or to which the case may be transferred.

  I will abide by any judgment entered in this matter by surrendering myself to serve any sentence imposed and will obey any order or
  direction in connection with such judgment as the Court may prescribe.

  I will immediately inform my counsel of any change in my contact information, including my residence address and telephone number,
  so that I may be reached at all times.

  I will not commit a federal, state, or local crime during the period of release.

  I will not intimidate any witness, juror, or officer of the court or obstruct the criminal investigation in this case. Additionally, I will not
  tamper with, harass, or retaliate against any alleged witness, victim, or informant in this case. I understand that if I do so, I may be
  subject to further prosecution under the applicable statutes.

  I will cooperate in the collection of a DNA sample under 42 U.S.C. g 14135a.

                                                                                     Defendant's Initials                  Date:     () ~~
CR-1 (OS/1                                  CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND                                     P GE30F4
               Case 2:20-cr-00165-ODW Document 15 Filed 06/10/20 Page 5 of 5 Page ID #:79
     Case Name: United States of America v. Ricardo Pacheco                                          Case No. 2:20-cr-00165-ODW
                                                      Defendant      ~ Material Witness


                                    ACKNOWLEDGMENT OF DEFENDANT/MATERIAL WITNESS

     As a condition of my release on this bond, pursuant to Title 18 of the United States Code, I have read or have had interpreted to me
     and understand the general conditions of release, the preconditions, and the additional conditions of release and agree to comply with
     all conditions of release imposed on me and to be bound by the provisions of Local Criminal Rule 46-6.

     Furthermore, it is agreed and understood that this is a continuing bond (including any proceeding on appeal or review) which will
     continue in full force and effect until such time as duly exonerated.

    I understand that violation of any of the general and/or additional conditions of release of this bond may result in a revocation of
    release, an order of detention, and a new prosecution for an additional offense which could result in a term of imprisonment and/or
    fine.

    I further understand that if I fail to obey and perform any of the general and/or additional conditions of release of this bond, this bond
    may be forfeited to the United States of America. If said forfeiture is not set aside,judgment maybe summarily entered in this
    Court against me and each surety,jointly and severally,for the bond amount,together with interest and costs. Execution of the
    judgment maybe issued or payment secured as provided by the Federal Rules of Criminal Procedure and other laws of the
    United States, and any cash or real or personal property or the collateral previously posted in connection with this bond maybe
    forfeited.



                                                                                                    l~z~ C~2~ ~~1~ y
    Date                                   Signature ofDefendant/Material Witness                      Telephone Number




     City and State(DO NOT INCLUDE ZIP CODE)



         Check if interpreter is used: I have interpreted into the                                                language this entire form
         and have been told by the defendant that he or she understands all of it.



    Interpreter's Signature                                                                          Date



     Approved:
                              United States District Judge /Magistrate Judge                         Date

     If cash deposited: Receipt #                               for $


    (This bond may require surety agreements and affidavits pursuant to Local Criminal Rule 46.)




                                                                                Defendant's Initials: V Y            Date:
CR-1 (05/19)                              CENTRAL DISTRICT OF CALIFORNIA RELEASE ORDER AND BOND                                         40F4
